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                           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

         THE STATE OF OREGON, THE STATE OF                         Case No. 1:25-cv-00077-GSK-TMR-JAR
         ARIZONA, THE STATE OF COLORADO,
         THE STATE OF CONNECTICUT, THE                             SECOND DECLARATION OF BRIAN
         STATE OF DELAWARE, THE STATE OF                           SIMMONDS MARSHALL
         ILLINOIS, THE STATE OF MAINE, THE
         STATE OF MINNESOTA, THE STATE OF
         NEVADA, THE STATE OF NEW MEXICO,
         THE STATE OF NEW YORK, and THE
         STATE OF VERMONT,

                             Plaintiffs,

                   v.

         DONALD J. TRUMP, in his capacity as
         President of the United States;
         DEPARTMENT OF HOMELAND
         SECURITY; KRISTI NOEM, in her official
         capacity as Secretary of the Department of
         Homeland Security; UNITED STATES
         CUSTOMS AND BORDER PROTECTION;
         PETER R. FLORES, in his official capacity as
         Acting Commissioner for U.S. Customs and
         Border Protection; and THE UNITED
         STATES,

                             Defendants.


                   I, Brian Simmonds Marshall, declare under penalty of perjury as follows:

                   1.        I am employed as a Senior Assistant Attorney General with the Oregon

         Department of Justice. I represent the State of Oregon in this case. I previously executed a

         declaration in this case which attached exhibits A–G.

                   2.        Each of the exhibits to this declaration were downloaded on May 12, 2025.

                   3.        Exhibit H to this declaration is the Joint Statement on U.S.-China Economic and

         Trade Meeting in Geneva (May 12, 2025), which was downloaded from

         https://www.whitehouse.gov/briefings-statements/2025/05/joint-statement-on-u-s-china-

         economic-and-trade-meeting-in-geneva/.

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           Trump, et al.

                                                       Oregon Department of Justice
                                                          100 SW Market Street
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to Plaintiffs' Supplemental Brief                  (971) 673-1880 / Fax: (971) 673-5000
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                   3.        Exhibit I to this declaration is a Fact Sheet: President Donald J. Trump Secures a

         Historic Trade Win for the United States (May 12, 2025), which was downloaded from

         https://www.whitehouse.gov/fact-sheets/2025/05/fact-sheet-president-donald-j-trump-secures-a-

         historic-trade-win-for-the-united-states/.

                   4.        Exhibit J to this declaration is the Transcript of Chair Powell’s Press Conference

         (May 7, 2025), which was downloaded from

         https://www.federalreserve.gov/mediacenter/files/FOMCpresconf20250507.pdf.

                   5.        Exhibit K to this declaration is a post of @realDonaldTrump on Truth Social

         (May 7, 2025), which was downloaded from

         https://truthsocial.com/@realDonaldTrump/posts/114477628854583525.

                   6.        Exhibit L to this declaration is a post of @realDonaldTrump on Truth Social

         (Apr. 8, 2025), which was downloaded from

         https://truthsocial.com/@realDonaldTrump/posts/114302499965852704.

                   7.        Exhibit M to this declaration is a post of @realDonaldTrump on Truth Social

         (Apr. 16, 2025), which was downloaded from

         https://truthsocial.com/@realDonaldTrump/posts/114347128422370864.



                   I declare under penalty of perjury that the foregoing is true and correct.

                   EXECUTED on May 13, 2025, in Portland, Oregon.


                                                                     s/ Brian Simmonds Marshall
                                                                  BRIAN SIMMONDS MARSHALL
                                                                  Senior Assistant Attorney General




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           Trump, et al.

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                                               The WHITE HOUSE
                                           BRIEFINGS & STATEMENTS

                      Joint Statement on U.S.-China Economic and Trade Meeting in Geneva

                                               The White House


                                                 May 12, 2025




The Government of the United States of America (the "United States") and the
Government of the People's Republic of China ("China"),
Recognizing the importance of their bilateral economic and trade relationship to both
countries and the global economy;
Recognizing the importance of a sustainable, long-term, and mutually beneficial
economic and trade relationship;
Reflecting on their recent discussions and believing that continued discussions
have the potential to address the concerns of each side in their economic and trade
relationship; and
Moving forward in the spirit of mutual opening, continued communication, cooperation,
and mutual respect;
The Parties commit to take the following actions by May 14, 2025:
The United States will (i) modify the application of the additional ad valorem rate of duty
on articles of China (including articles of the Hong Kong Special Administrative Region
and the Macau Special Administrative Region) set forth in Executive Order 14257 of April
2, 2025, by suspending 24 percentage points of that rate for an initial period of 90 days,
while retaining the remaining ad valorem rate of 10 percent on those articles pursuant to
the terms of said Order; and (ii) removing the modified additional ad valorem rates of
duty on those articles imposed by Executive Order 14259 of April 8, 2025 and Executive
Order 14266 of April 9, 2025.
China will (i) modify accordingly the application of the additional ad valorem rate of duty
on articles of the United States set forth in Announcement of the Customs Tariff
Commission of the State Council No. 4 of 2025, by suspending 24 percentage points of
that rate for an initial period of 90 days, while retaining the remaining additional ad
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valorem rate of 10 percent on those articles, and removing the modified additional ad
valorem rates of duty on those articles imposed by Announcement of the Customs Tariff
Commission of the State Council No. 5 of 2025 and Announcement of the Customs
Tariff Commission of the State Council No. 6 of 2025; and (ii) adopt all necessary
administrative measures to suspend or remove the non-tariff countermeasures taken
against the United States since April 2, 2025.
After taking the aforementioned actions, the Parties will establish a mechanism to
continue discussions about economic and trade relations. The representative from the
Chinese side for these discussions will be He Lifeng, Vice Premier of the State Council,
and the representatives from the U.S. side will be Scott Bessent, Secretary of the
Treasury, and Jamieson Greer, United States Trade Representative. These discussions
may be conducted alternately in China and the United States, or a third country upon
agreement of the Parties. As required, the two sides may conduct working-level
consultations on relevant economic and trade issues.




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                                            The WHITE HOUSE
                                               FACT SHEETS

         Fact Sheet: President Donald J. Trump Secures a Historic Trade Win for the United States


                                             The White House


                                               May 12, 2025




SECURING ANOTHER HISTORIC DEAL: Today, on the heels of the brand-new deal with
the United Kingdom, President Donald J. Trump reached an agreement with China to
reduce China's tariffs and eliminate retaliation, retain a U.S. baseline tariff on China, and
set a path for future discussions to open market access for American exports.
   •    Today, the United States issued the first joint statement on trade in many years
        with China after successful negotiations over the weekend in Geneva, Switzerland.

   •     Both parties affirmed the importance of the critical bilateral economic and trade
         relationship between both countries and the global economy.

   •     For too long, unfair trade practices and America's massive trade deficit with China
         have fueled the offshoring of American jobs and the decline of our manufacturing
         sector.

   •     In reaching an agreement, the United States and China will each lower tariffs by
        115% while retaining an additional 10% tariff. Other U.S. measures will remain in
         place.

   •     Both sides will take these actions by May 14, 2025.

   •    This trade deal is a win for the United States, demonstrating President Trump's
         unparalleled expertise in securing deals that benefit the American people.
CHINESE ACTIONS: China will remove the retaliatory tariffs it announced since April 4,
2025, and will also suspend or remove the non-tariff countermeasures taken against the
United States since April 2, 2025.
   •     China will also suspend its initial 34% tariff on the United States it announced on
         April 4, 2025 for 90 days, but will retain a 10% tariff during the period of the pause.
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AMERICAN ACTIONS: The United States will remove the additional tariffs it imposed on
China on April 8 and April 9, 2025, but will retain all duties imposed on China prior to
April 2, 2025, including Section 301 tariffs, Section 232 tariffs, tariffs imposed in
response to the fentanyl national emergency invoked pursuant to the International
Emergency Economic Powers Act, and Most Favored Nation tariffs.
   •    The United States will suspend its 34% reciprocal tariff imposed on April 2, 2025
        for 90 days, but retain a 10% tariff during the period of the pause.

   •    The 10% tariff continues to set a fair baseline that encourages domestic
         production, strengthens our supply chains and ensures that American trade policy
         supports American workers first, instead of undercutting them.

   •     By imposing reciprocal tariffs, President Trump is ensuring our trade policy works
        for the American economy, addresses our national emergency brought on by our
        growing and persistent trade deficit, and levels the playing field for American
        workers and producers.

   •     Unlike previous administrations, President Trump took a tough, uncompromising
         stance on China to protect American interests and stop unfair trade practices.
WORKING TOWARDS A REBALANCING: When these changes come into effect, both
nations agreed to establish a mechanism to continue important discussions about trade
and economics.
   •    The U.S. goods trade deficit with China was $295.4 billion in 2024-the largest with
         any trading partner.

   •    Today's agreement works toward addressing these imbalances to deliver real,
         lasting benefits to American workers, famers, and businesses.

   •     As our nations continue these discussions, China will be represented by He Lifeng,
         Vice Premier of the State Council.

   •    The United States will be represented by Scott Bessent, Secretary of the Treasury,
         and Jamieson Greer, United States Trade Representative.
ADDRESSING THE FENTANYL CRISIS: The United States and China will take aggressive
actions to stem the flow of fentanyl and other precursors from China to illicit drug
producers in North America.



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         May 7, 2025                       Chair Powell’s Press Conference                    PRELIMINARY

                                    Transcript of Chair Powell’s Press Conference
                                                    May 7, 2025

                   CHAIR POWELL. Good afternoon. My colleagues and I remain squarely focused on

         achieving our dual mandate goals of maximum employment and stable prices for the benefit of

         the American people. Despite heightened uncertainty, the economy is still in a solid position.

         The unemployment rate remains low, and the labor market is at or near maximum employment.

         Inflation has come down a great deal but has been running somewhat above our 2 percent longer-

         run objective.

                   In support of our goals, today the Federal Open Market Committee decided to leave our

         policy interest rate unchanged. The risks of higher unemployment and higher inflation appear to

         have risen, and we believe that the current stance of monetary policy leaves us well positioned to

         respond in a timely way to potential economic developments. I will have more to say about

         monetary policy after briefly reviewing economic developments.

                   Following growth of 2.5 percent last year, GDP was reported to have edged down in the

         first quarter, reflecting swings in net exports that were likely driven by businesses bringing in

         imports ahead of potential tariffs. This unusual swing complicated GDP measurement last

         quarter. Private domestic final purchases, or PDFP—which excludes net exports, inventory

         investment, and government spending—grew at a solid 3 percent rate in the first quarter, the

         same as last year’s pace. Within PDFP, growth of consumer spending moderated while

         investment in equipment and intangibles rebounded from weakness in the fourth quarter.

         Surveys of households and businesses, however, report a sharp decline in sentiment and elevated

         uncertainty about the economic outlook, largely reflecting trade policy concerns. It remains to

         be seen how these developments might affect future spending and investment.




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         May 7, 2025                      Chair Powell’s Press Conference                     PRELIMINARY

                   In the labor market, conditions have remained solid. Payroll job gains averaged 155

         thousand per month over the past three months. The unemployment rate, at 4.2 percent, remains

         low and has stayed in a narrow range for the past year. Wage growth has continued to moderate

         while still outpacing inflation. Overall, a wide set of indicators suggests that conditions in the

         labor market are broadly in balance and consistent with maximum employment. The labor

         market is not a source of significant inflationary pressures.

                   Inflation has eased significantly from its highs in mid-2022 but remains somewhat

         elevated relative to our 2 percent longer-run goal. Total PCE prices rose 2.3 percent over the 12

         months ending in March; excluding the volatile food and energy categories, core PCE prices rose

         2.6 percent. Near-term measures of inflation expectations have moved up, as reflected in both

         market- and survey-based measures. Survey respondents, including consumers, businesses, and

         professional forecasters, point to tariffs as the driving factor. Beyond the next year or so,

         however, most measures of longer-term expectations remain consistent with our 2 percent

         inflation goal.

                   Our monetary policy actions are guided by our dual mandate to promote maximum

         employment and stable prices for the American people. At today’s meeting, the Committee

         decided to maintain the target range for the federal funds rate at 4-1/4 to 4-1/2 percent and to

         continue reducing the size of our balance sheet.

                   The new Administration is in the process of implementing substantial policy changes in

         four distinct areas: trade, immigration, fiscal policy, and regulation. The tariff increases

         announced so far have been significantly larger than anticipated. All of these policies are still

         evolving, however, and their effects on the economy remain highly uncertain. As economic




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         May 7, 2025                        Chair Powell’s Press Conference                      PRELIMINARY

         conditions evolve, we will continue to determine the appropriate stance of monetary policy based

         on the incoming data, the outlook, and the balance of risks.

                   If the large increases in tariffs that have been announced are sustained, they are likely to

         generate a rise in inflation, a slowdown in economic growth, and an increase in unemployment.

         The effects on inflation could be short-lived—reflecting a one-time shift in the price level. It is

         also possible that the inflationary effects could instead be more persistent. Avoiding that

         outcome will depend on the size of the tariff effects, on how long it takes for them to pass

         through fully into prices, and, ultimately, on keeping longer-term inflation expectations well

         anchored.

                   Our obligation is to keep longer-term inflation expectations well anchored and to prevent

         a one-time increase in the price level from becoming an ongoing inflation problem. As we act to

         meet that obligation, we will balance our maximum employment and price-stability mandates,

         keeping in mind that, without price stability, we cannot achieve the long periods of strong labor

         market conditions that benefit all Americans.

                   We may find ourselves in the challenging scenario in which our dual-mandate goals are

         in tension. If that were to occur, we would consider how far the economy is from each goal, and

         the potentially different time horizons over which those respective gaps would be anticipated to

         close. For the time being, we are well positioned to wait for greater clarity before considering

         any adjustments to our policy stance.

                   At this meeting, the Committee continued its discussions as part of our five-year review

         of our monetary policy framework. We focused on inflation dynamics and the implications for

         our monetary policy strategy. Our review includes outreach and public events involving a wide

         range of parties, including Fed Listens events around the country and a research conference next



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         May 7, 2025                      Chair Powell’s Press Conference                     PRELIMINARY

         week. Throughout this process, we are open to new ideas and critical feedback, and we will take

         on board lessons of the last five years in determining our findings. We intend to wrap up the

         review by late summer.

                   The Fed has been assigned two goals for monetary policy—maximum employment and

         stable prices. We remain committed to supporting maximum employment, bringing inflation

         sustainably to our 2 percent goal, and keeping longer-term inflation expectations well anchored.

         Our success in delivering on these goals matters to all Americans. We understand that our

         actions affect communities, families, and businesses across the country. Everything we do is in

         service to our public mission. We at the Fed will do everything we can to achieve our maximum

         employment and price stability goals. Thank you. I look forward to your questions.

                   MICHELLE SMITH. Steve.

                   STEVE LIESMAN. Steve. Steve Liesman, CNBC. Thank you, Mr. Chair, for taking my

         question. A lot has happened since the last meeting. There have been tariffs put on, tariffs taken

         off, and meanwhile there was a bill advancing in Congress. And I just wonder if I could press

         you on the last part of your statement. Are you any closer now to deciding which side of the

         mandate is going to need urgent care first?

                   CHAIR POWELL. Well, so as we noted in our statement, post-meeting statement, we've

         judged that the risks to higher employment and higher inflation have both risen. And this, by the

         way, of course, is compared to March. So that's what we can say. I don't think we can say, you

         know, which way this will shake out. I think there's a great deal of uncertainty about, for

         example, where tariff policies are going to settle out, and also when they do settle out, what will

         be the implications for the economy for growth and for employment? And I think it's too early to




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         know that. So I mean, ultimately we think our policy rate is in a good place to stay as we await

         further clarity on tariffs and ultimately our implications for the economy.

                   STEVE LIESMAN. Hearing you describe what you're looking for in terms of being able

         to make a decision, it sounded like that's a long-term process before you sound like you're going

         to be comfortable, or the Committee would be comfortable to act on what the data is telling you.

                   CHAIR POWELL. I don't think we know. You know, I think -- look where we are today,

         we have an economy that if you look through, you know, the sort of distortions in Q1 GDP,

         you've still got an economy that looks like it's growing at a solid pace. The labor market appears

         to be solid. Inflation is running just a bit above two percent. So, it's an economy that's been

         resilient and is in good shape, and our policy is sort of modestly or moderately restrictive. It's

         100 basis points less restrictive than it was last fall. And so, we think that leaves us in a good

         place to wait and see. We don't think we need to be in a hurry. We think we can be patient. We're

         going to be watching the data. The data may move quickly or slowly, but we do think we're in a

         good position where we are to let things evolve and become clearer in terms of what should be

         the monetary policy response.

                   MICHELLE SMITH. Nick.

                   NICK TIMIRAOS. Nick Timiraos for The Wall Street Journal. Chair Powell, there's

         naturally a lot of [inaudible] around 2021 in supply shocks. But there are some who argue that

         the current situation has notable differences, energy costs are down, housing imbalances look

         nothing like they did four years ago, labor demand appears to be gradually cooling with wage

         growth running below four percent. What do you see right now that could nourish higher

         inflation beyond a rise in goods prices this year?




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                   CHAIR POWELL. I think the underlying inflation picture is good, it's what you see,

         which is inflation now running a bit above two percent. And we've had basically decent readings

         in housing services and non-housing services, which is a big part of it. So that part, I think is

         moving along well. But there's just so much that we don't know. I think -- and we're in a good

         position to wait and see, is the thing, we don't have to be in a hurry. The economy is -- has been

         resilient and is doing fairly well. Our policy is well positioned, the cost of waiting to see further

         are fairly low, we think. So that's what we're doing. And you know, we'll see the Administration

         is entering into negotiations with many countries over tariffs. We'll know more with each week

         and month that goes by where -- about where tariffs are going to land -- you know, land, and

         we'll know what the effects will be when we start to see those things. So, we think we'll be

         learning. I can't tell you how long it will take. But for now, it does seem like it's a fairly clear

         decision for us to wait and see and watch.

                   NICK TIMIRAOS. So when you say that you don't need to be in a hurry, does that mean

         that -- could the outlook change in such a way that a change in your stance could be warranted as

         soon as your next meeting?

                   CHAIR POWELL. You know, as I said, we're -- we are comfortable with our policy

         stance. We think the right -- we're in the right place to wait and see how things evolve. We don't

         feel like we need to be in a hurry. We feel like it's appropriate to be patient. And you know, when

         things develop -- of course we have a record of -- we can move quickly when that's appropriate.

         But we think right now the appropriate thing to do is to wait and see how things evolve. There's

         so much uncertainty. If you talk to businesses, or market participants, or forecasters, everyone is

         just waiting to see how developments play out, and then we'll be able to make a better




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         assessment of what the appropriate path for a monetary policy is. So we're not in that place, and

         you know, as that develops -- and I can't really give you a timeframe on that.

                   MICHELLE SMITH. Jonnelle.

                   JONELLE MARTE. Jonnelle Marte with Bloomberg. So, many economists have been

         pricing in higher odds of a recession, and several are noting that it is more difficult for the Fed to

         cut rates preemptively, given the higher risks for higher inflation. So given the outlook, do you

         still see a path for a soft landing, and what does that look like?

                   CHAIR POWELL. Well, let me say, I mean, so let's look back and see where we are. So,

         go through 2024 up to the day, we've had, you know, unemployment in the low fours for more

         than a year, we've had inflation coming down in the -- now in the mid to low twos, and we've had

         an economy growing at 2 and 1/2 percent. So that is the economy as we see it now. What looks

         likely, given the scope and scale of the tariffs, is that we will see the -- certainly the risk to higher

         inflation, higher unemployment have increased. And if that's what we do see, if -- you know, if

         the tariffs are ultimately put in place at those levels, which we don't know, then we will see -- we

         won't see further progress toward our goals, but we might see a delay in that. I think in the -- you

         know, in our thinking we would get -- we would never -- we never do anything but keep

         achieving those goals. But what we would -- at least for the next, let's say year, we would not be

         making progress toward those goals, again, if that is -- if that's the way the tariffs shake out. The

         thing is, we don't know that. There's so much uncertainty about the scale, scope, timing, and

         persistence of the tariffs. So that's that. In terms of preemption, you know, I think you can look

         back at the 2019 cuts, as preemptive. I wouldn't say that what we did last fall was at all

         preemptive. If anything, it was a little late. But 2019 we did cut three times. But situation was

         you had a weakening economy and you had inflation at 1.6 percent. So that's a situation where



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         you can move preemptively. Now we have inflation running above target. It has been above

         target for four years. It's not so far above target now. And we have an expectation conditional on

         what happens that will see upward pressure on inflation. If you look at where forecasters are,

         they're all forecasting an increase in inflation. So, it makes it -- and then we've also got, you

         know, forecasts of weakening in the economy and some have recession forecast. We don't make a

         -- publish a forecast about that, we don't publish a forecast that assesses how likely a recession

         is; but in any case, it's not a situation where we can be preemptive, because we actually don't

         know what the right response to the data will be until we see more data.

                   MICHELLE SMITH. Colby.

                   COLBY SMITH. Colby Smith with The New York Times. How much weakness does the

         Committee need to see, though, in the labor market and the economy more broadly to lower

         interest rates again? Is it about a certain increase in the unemployment rate over a period of time,

         or perhaps a certain number of negative monthly job reports? I mean, how are you making that

         assessment?

                   CHAIR POWELL. You know, so first of all, we don't see that yet, right, we have 4.2

         percent unemployment, good participation, wages behaving very well, participation, I

         mentioned, at a good level. So you know, with the labor market, we would look at the totality of

         the data. We'd look at the level of the unemployment rate, we'd look at the speed with which it's

         changing, we would look at the whole huge array of labor market data to get a sense of whether

         conditions are really deteriorating or not. And at the same time, we'd be looking at the other side

         of the mandate. We could be in a position of having to balance those two things, which is, of

         course, a very -- a difficult balancing judgment that we'd have to make.




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                   COLBY SMITH. On that point about balancing, I mean, you've mentioned that the

         Committee would consider how far the economy is from each goal and the time it would take to

         kind of get back to that point. But what does that mean in practice? I mean, how much of that

         assessment will be rooted in a forecast versus data dependence?

                   CHAIR POWELL. It would be a combination of the two. I mean, let's just say this is a --

         this would be a complicated and challenging judgment that we would have to make if -- and this

         is -- we're not in this situation, but the situation is if the two goals are intention. So, let's say that

         unemployment is moving up in an uncomfortable way and so is inflation, not the situation we're

         in, hypothetically; but we would look at how far they are from the goals, how far they're

         expected to be from the goals, what's the expected time to get back to their goals. We'd look at all

         those things and make a difficult judgment. And that's in our framework. It's always been in our

         thinking. You know, it's -- we haven't had -- we haven't faced that question in a very long time.

         And so, again, difficult judgment to make, and not one that we face today, and we may never

         face it. But you know, we have to be keeping it in our thinking now.

                   MICHELLE SMITH. Edward.

                   EDWARD LAWRENCE. Thank you, Edward Lawrence with Fox Business. So we had

         the CPI report that came out that showed month over month the first increase in inflation. In

         about three years, the jobs reporting said solid that we saw. At the same time, we have those new

         tariffs that we're living under. So given this, should the Federal Reserve be cutting rates at all this

         year?

                   CHAIR POWELL. You know, it's going to depend. I think you have to just take a step

         back and realize this is why we are where we are, is you know, we are going to need to see how

         this evolves. There are cases in which it would be appropriate for us to cut rates this year. There



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         are cases in which it wouldn't, and we just don't know. Until we know more about how this is

         going to settle out and what the economic implications are for employment, for -- and for

         inflation, I couldn't confidently say that I know what the appropriate path will be.

                   EDWARD LAWRENCE. So following on that, just, you know -- so then how does

         President Trump calling on you personally as well as the Federal Reserve to make rate cuts affect

         your decision today and affect your job difficulty?

                   CHAIR POWELL. Doesn't affect our doing our job at all. So we -- you know, we're

         always going to do the same thing, which is we're going to use our tools to foster maximum

         employment and price stability for the benefit of the American people. We're always going to

         consider only the economic data, the outlook, the balance of risks, and that's it, that's all we're

         going to consider. So it really doesn't affect either our job or the way we do it.

                   MICHELLE SMITH. Howard.

                   HOWARD SCHNEIDER. Hi, Howard Schneider with Reuters, and thanks for the time.

         I'm wondering -- I mean, given the complexity about the first quarter GDP and what lies ahead,

         I'm just wondering what your intuition tells you about the underlying direction of the economy

         right now. Many of your colleagues have said they feel growth is slowing. If so, do you have any

         sense of by how much, to what degree the slowdown may be? What does your gut tell you about

         how things are evolving out there?

                   CHAIR POWELL. My gut tells me that uncertainty about the path of the economy is

         extremely elevated, [laughter] and that the downside risks have increased. The risk is -- as we

         pointed out in our statement, the risks of higher unemployment and higher inflation have risen,

         but they haven't materialized yet. They really haven't. They're not really not in the data yet, so

         that -- and that tells me more than by intuition because I think it's obvious, actually, that the right



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         thing for us to do is that -- we're in a good place, our policy's in a very good place, and the right

         thing to do is await further clarity. And I -- you know, there's -- usually things clarify and that the

         appropriate direction becomes clear, that's what usually happens, right? Right now it's very hard

         to say what that would be. In the meantime, the economy is doing fine. Our policy isn't -- you

         know, it's not highly restrictive. It's somewhat restrictive. It's 100 basis points less restrictive than

         it was in, you know, last summer. So, we think it's in a good place, and we think the appropriate

         thing is for us to wait and see and get more clarity about the direction of the economy.

                   HOWARD SCHNEIDER. Well, let me press you on this side of the economy being fine

         right now, because reading the Beige Book very closely the last time around there was a lot of,

         you know, negative stuff, negative sentiment that was in there. And I know that everybody's

         looking at soft data right now. You mentioned it yourself that the sentiment's sour. But the Beige

         Book was talking about, you know, the beginnings of layoffs in some industries, prices rising in

         some places, and an awful lot of investment decisions being pushed to the sideline. Doesn't that

         point to a slowdown?

                   CHAIR POWELL. It may well. It just hasn't shown up yet. And you know, we all look at

         all these sentiments and read many, many individual comments just to get a better feel. And you

         know, businesses and households very broadly are concerned and, you know, postponing

         economic decisions of various kinds. And yes, if that continues and nothing happens to sort of

         alleviate those concerns, then you would expect that to begin to show up in economic data. It

         wouldn't maybe show up overnight, but it would show up over weeks and months. And that may

         be what happens, but it hasn't happened yet. And also, there are things that can happen that will

         change that narrative. I mean, they haven't happened, but it's possible to imagine things. But in

         the meantime, yes, we're watching it extremely carefully like everyone is, but don't see really



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         much evidence of it in the actual economic data yet. And by the way, consumers keep spending,

         credit card spending. It's -- you know, it's still a healthy economy, albeit one that is shrouded in

         some very downbeat sentiment on the part of people and businesses.

                   MICHELLE SMITH. Michael.

                   MICHAEL MCKEE. Michael McKee. Michael McKee from Bloomberg Radio and

         Television. The Fed's been criticized recently by a former governor for what he calls "mission

         creep", you take on more problems, use more tools, and then end up building tools to deal with

         the fallout of those tools, which then makes it a given that you will act more aggressively in the

         future. Is that a fair critique, and is that something you would be looking at in your framework

         review?

                   CHAIR POWELL. Sorry, say that critique again?

                   MICHAEL MCKEE. That the Fed has been involved in mission creep, gets involved in

         using too many new tools to deal with problems and to go too far. Is that something that -- the

         critique was based around the fact that you get QE and QE and QE and –

                   CHAIR POWELL. Oh, okay. Sure.

                   MICHAEL MCKEE. And went beyond the narrow confines of your mandate.

                   CHAIR POWELL. So -- well, I mean, there are a couple -- that's not really beyond the

         confines of our mandate. I -- look, I would say this, we -- you know, we did things -- essentially

         we were on an emergency footing for a couple of years in the pandemic, and it's very fair and

         very welcome for people to look back over what we did and say, "Hey, you could have done this

         better and differently." And one thing we hear a lot is we could have explained the QE a little

         better. We did think we were explaining it in real time. I completely accept the thought that we

         could have explained it better. There's a lot of thinking that we went on too long with QE. I can



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         tell you that the reason we did was we were concerned that we didn't want a tightening of -- a

         sharp tightening in financial conditions at a time when we thought the economy was still

         vulnerable. And so we did hold on for a long time to QE. And we, of course, tapered and

         everything. And then we immediately went into QT and, you know, we've -- we're down a couple

         of trillion. But I get the -- that, you know, we certainly with the benefit of hindsight could have

         tapered earlier or faster. That's absolutely right. But this is all very welcome. You know, it's --

         you know, we knew doing this in real time that we weren't going to get it perfect. And those

         kinds of, you know, after action kind of looks are essential. And we're doing the same thing in --

         you know, in our review, so -- on some issues.

                   MICHAEL MCKEE. There -- the other part of that critique is that you've taken on topics

         that are outside of the mandate, such as climate change and trying to ensure that certain groups

         are benefited by your economic policies in terms of employment, et cetera.

                   CHAIR POWELL. So okay on climate, you've heard me say over and over again that we

         will not be climate policymakers and that our role on climate is a very, very narrow one. And I

         think that's what we've done. We've done really very little on climate. You can say that was --

         that little bit that we've done was too much, but I wouldn't want to give any impression that, you

         know, we take -- that we've taken climate in and it's something that we're spending a lot of time

         and energy on. We're not. We have very, very narrow things. We did one thing, one guidance for

         the banks and then we did one -- a one-time stress analysis, climate stress analysis, and that's it.

         And you know, we dropped out of the network for being in the financial system. So, we didn't do

         much on climate, but -- and I do think -- and I've said this publicly several times, I think it's a

         real danger for us to try to take on a mandate like that, which is very narrow application to our

         work. And you know, the risk is if you go for things that are really not on your mandate, you



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         know, then why are you independent? You know, I think that's a very fair question. And I do

         think we've done a whole lot less on climate than some people seem to think we did. Anyway,

         that's what –

                   MICHAEL MCKEE. Should you have taken on the question of bringing unemployment

         rates down for specific categories?

                   CHAIR POWELL. We didn't do that. You know, we said -- what we said was that we

         never targeted any unemployment rate for individual, racial, or demographic groups. What we

         said was that maximum employment was a broad and inclusive goal. And I think what we meant

         by that was we're going to consider the totality of the country as we look at our maximum

         employment goal. Of course, we were never going to target on any individual group with that,

         but I think some people, you know, wanted to hear it that way. But that's not at all what we

         meant. But -- so that's just not a correct reading of our -- but I can see how, you know, maybe

         people found that confusing and, you know, we have to take that into consideration.

                   MICHELLE SMITH. Jo Ling.

                   JO LING KENT. Hi, Chair Powell, thanks for taking our question today. I'm Jo Ling

         Kent with CBS News. You've said wait and see, and the economy is doing fine today. But the

         impact of tariffs are already showing up at the ports. Businesses big and small are telling us that

         they feel it, and most importantly, consumers say they feel it. But the challenges are here. And

         there's no waiting and seeing. For Main Street, what is the breaking point? What would have to

         happen to prompt a rate cut specifically?

                   CHAIR POWELL. Well, you know, so we really don't see in the data yet big economic

         effects. We see sentiment, their concerns that higher prices may be coming or things like that, but

         -- so people they're worried now about inflation -- they're worried about, you know, a shock from



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         the tariffs. But they really haven't -- that shock hasn't hit yet. Okay, so you know, we're going to

         be looking at not just the sentiment data, but also the real economic data as we assess what it is

         we should do. And remember, we're -- there will be two effects. One of them would be

         weakening economy, weakening economic activity which translates into higher unemployment,

         and the other would be potentially higher inflation. Again, to say it again, the timing, the scope,

         the scale, and the persistence of those effects are very, very uncertain. So, it's not at all clear what

         the appropriate response for monetary policy is at this time. And we're -- you know -- and by the

         way, our policy's in a good place so we think we can wait and move when it is clear what the

         right thing to do is; really not at all clear what it is we should do. So, people are feeling stress

         and concern, but unemployment hasn't gone up, job creation is fine, wages are in good shape.

         You know, people are not -- layoffs are -- people are not getting laid off at high levels. You know,

         initial claims for unemployment are not increasing, you know, in any kind of impressive way. So,

         the economy itself is still, you know, in solid shape.

                   JO LING KENT. Just a quick follow-up, President Trump now says he does not plan to

         remove you as Chair. When you heard that, what did you think?

                   CHAIR POWELL. I don't have anything more for you on that. I've pretty much covered

         that issue, thank you.

                   MICHELLE SMITH. Chris.

                   CHRIS RUGABER. Hi, thank you, Chris Rugaber, Associated Press. Well, I just wanted

         to follow up. Earlier it sounded like you said it was unclear how the Fed -- you know, what kind

         of interest rate decisions you will make later this year. So does that -- you know, in March there

         was guidance that two cuts might happen, you know, two cuts were penciled in for this year. Is




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         that now -- that guidance from the last press conference, has that been overtaken by events at this

         point?

                   CHAIR POWELL. You know, we don't do a Summary of Economic Projections at every

         meeting, as you know. We do it every other meeting. And so this was the meeting when we didn't

         do it. And I -- you know, we don't also kind of poll people, so I really wouldn't want to try to

         make a specific projection for where we are relative to that. We will -- in six weeks, we have the

         June meeting and you'll have another SEP. I'm not going to hazard a guess here today what -- as

         to what it would be. Again, what I would say is that we think our policy rate is in a good place.

         We think it leaves us well positioned to respond in a timely way to potential developments.

         That's where we are; and that -- depending on the way things play out, that could include rate

         hikes -- sorry, rate cuts. You know, it could include us holding where we are. We just are going to

         need to see, you know, how things play out before we make those decisions.

                   CHRIS RUGABER. Great. And just to follow up on that, I mean, when you address the

         issue of how the Fed would handle both rising unemployment and rising inflation, how are you

         thinking about the fact that addressing one could exacerbate the other? So a rate cut to reduce

         unemployment could worsen inflation and vice versa, how does that -- how do you handle those

         challenges?

                   CHAIR POWELL. Well, you just captured the -- this is the issue with the two goals being

         in tension, it's a very challenging question. Now, there can be a case in which one goal is very

         far, one variable's very far from its goal, much farther than the other. And if so, you concentrate

         on that one. And frankly, that was the case -- well it wasn't a case where they were really in

         tension. But if you go back to 2022, it was very clear that we needed to focus on inflation. The

         labor market was also super tight so it wasn't really a tradeoff. You know, if -- I think you know



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         what our framework document says. It says we'll look at how far each goal -- each variable is

         from its goal and also we'll factor in the time it would take to get there. So you know, that's going

         to be a -- potentially a very difficult judgment. But the data could break in a way that it's not. You

         know, I just don't think we know that. The data could easily favor one or the other. And right now

         there's no way to -- no need to make a choice and no real basis for doing so.

                   MICHELLE SMITH. Victoria.

                   VICTORIA GUIDA. Hi, Victoria Guida with Politico. I wanted to ask, Congress is

         currently debating spending cuts alongside expending -- extending the tax cuts. And I know

         you've talked many times about how the path of the debt is unsustainable. But given that we're

         also talking right now about the economy slowing, potentially even recession, I was just

         wondering is there a danger that spending cuts now could slow growth a lot more?

                   CHAIR POWELL. You know, we don't give Congress fiscal advice. I -- they're going to

         do -- we take what they do as a given and we put it in our models and in our assessment of the

         economy, so I wouldn't want to, you know, speculate on that. I mean, I think we do know that the

         debt is on an unsustainable level -- on an unsustainable path -- not on an unsustainable level, but

         an unsustainable path, and it's on Congress to figure out how to get us back on a sustainable path

         and, you know, it's not up to us to give them advice.

                   VICTORIA GUIDA. Well, do you think that they should take macroeconomic conditions

         into account as they look at this?

                   CHAIR POWELL. I think they don't need my advice and our advice on how to do fiscal

         policy any more than we need their advice on monetary policy.

                   MICHELLE SMITH. Andrew.




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                   ANDREW ACKERMAN. Thanks, Mr. Chairman, Andrew Ackerman with The

         Washington Post. In your Jackson Hole comments last year, you said you would not welcome

         further cooling in labor market conditions. The unemployment rate then was 4.2 percent, which

         is what it is now. Forecasters -- many forecasters now predict a higher jobless rate. How has your

         tolerance for weakening labor market conditions changed compared to a year ago?

                   CHAIR POWELL. So it was quite a different situation. What was happening last year is

         that over the space of six, eight, seven months, the unemployment rate went up by almost a full

         percentage point, and it was click, click, click, click, click each month. And you know,

         everywhere, people were talking about downside risks to the labor market. At the same time,

         payroll job numbers were getting softer and softer. So there was a really obvious concern about

         downside risk to the labor market. And so at Jackson Hole and then in September, you know, we

         wanted to address that forthrightly. We wanted to show that we were there for the -- I mean, we

         had been there for inflation for a couple of years and we wanted to show also that we're there for

         the labor market. And it was important that we send that signal. Fortunately, since then, the labor

         market has really -- and the unemployment rate have really been moving sideways at a level that

         is, you know, well in the range of mainstream estimates of maximum employment. So that

         concern has gotten a lot less. So you know, you're at 4.2 percent unemployment. I think we were

         in a very different situation. And now we have a situation where, you know, the risks to higher

         inflation and higher unemployment have both gone up, as we noted in our statement, and we've

         got to monitor both of those. We actually have a potential situation where there may be a tradeoff

         or tension between the two potentially. We don't have it yet, and we may not have it, but that's

         what we have, and that's why I think it's a very different situation.




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                   ANDREW ACKERMAN. I mean, I guess I want to follow up by asking how much of a

         rise in the jobless rate you would -- you could tolerate.

                   CHAIR POWELL. Yes, I can't give you a -- you know, a -- I'm not going to try to give

         you a specific number. I'll just say, we've got -- we have to now be looking at both variables and

         which of them is, you know, demanding -- if one of them is demanding our focus more than the

         other, that would tell us what to do with policies. They're more or less the -- you know, equally

         distant and equally -- or not distant, then we don't have to make that assessment. You know, the

         assessment is you wait. So I'm not going to try to be really specific about what we need to see in

         terms of the number. But if -- look, if we did see, you know, significant deterioration in the labor

         market, of course that's one of our two variables and we would look to be able to support that.

         You'd hope that it wasn't also coming at a time when inflation was getting very bad. And again,

         we're speculating here. We don't know this. We don't know any of these things. It's very

         hypothetical. We're just going to have to wait and see how the -- how it plays out.

                   ANDREW ACKERMAN. Thanks.

                   MICHELLE SMITH. Claire.

                   CLAIRE JONES. Claire Jones, Financial Times. In terms of getting some clarity, we've

         got some talks at the weekend in Geneva between the U.S. and China. A lot of economists are

         ask -- are attaching an awful lot of importance to how -- what we hear from those talks. How

         much importance are you attaching to them in terms of judging what will happen to the U.S.

         economy going forward? And just in a similar vein, you know, some economists are saying it's

         days, not weeks that we have until we start to put the U.S. economy at risk of seeing a sort of

         pandemic here with shortages and higher prices if we don't kind of soothe relations between the

         U.S. and China. So it would be good to have your view on that, too.



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                   CHAIR POWELL. So you know, these are not talks that we're in any way involved in so

         I really can't comment directly on them. So but what I will say is this, you know, we had --

         coming out of the March meeting, we -- the public generally had an assessment of where tariffs

         were going and then April 2 happened and it was really substantially larger than anticipated in

         the forecasts that I've seen and in our forecast. So and now we have a different -- we're in a new

         phase where -- it seems to be we're entering a new phase where the administration is entering

         into beginning talks with a number of our important trading partners. And that's -- that has the

         potential to change the picture materially or not. And so I think it's going to be very important

         how that shakes out. But I -- you know, we simply have to wait and see how it works out. It

         certainly could change the picture, and we're mindful of not trying to make conclusive judgments

         about what will happen at a time when the -- you know, when the facts are changing.

                   CLAIRE JONES. And just on the fallen ship and volumes from China over these

         tensions, I mean, do you share that concern that we could start seeing goods shortages and higher

         prices in the coming weeks if this isn't resolved very quickly?

                   CHAIR POWELL. You know, I don't want to get my -- we're not -- we shouldn't be

         involved even verbally in questions about the timing of these things. Yes, we're -- of course we

         follow all that data. We see the shipping data. We see all that. But ultimately, this is for the

         administration to do. This is -- you know, this is their mandate, not ours. And I know they're -- as

         you can see, they're, again, having -- beginning to have talks with many nations. And that has the

         potential to change the picture materially, so we'll just have to wait and see.

                   MICHELLE SMITH. Kosuke.

                   KOSUKE TAKAMI. Kosuke Takami with Nikkei. Thank you for doing this. The volume

         of imported goods increased significantly in the first quarter. But do you think the decision could



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         cause a delay in the impact of tariff on inflation, and does this mean that it will take a longer time

         to reduce uncertainty?

                   CHAIR POWELL. The decision we made today? Which decision?

                   KOSUKE TAKAMI. So the future decisions. So the volume of imports –

                   CHAIR POWELL. Yes.

                   KOSUKE TAKAMI. Imported goods has increased significantly. So the impact of the

         imported inflation may delay. So what is the impact to – Okay. -- your future decision?

                   CHAIR POWELL. Okay, so I mean, I think we think that the -- you know, there was a

         big spike in imports, right, very big, historically large, really, and -- to beat tariffs and now that

         should actually reverse so that it's -- you know, it's the difference between -- it's exports minus

         imports, so -- and imports were huge and so then it conveyed a very negative contribution to U.S.

         GDP -- annualized GDP in the first quarter, as we all know. So that could in the second quarter

         be reversed so that we have, you know, an unusually large contribution to -- unusually positive.

         That's very likely as imports drop sharply. You could also have -- you know, very likely you'll

         have restatements of the -- of first quarter. It will turn out to consumer spending was higher. It

         will turn out that inventories were higher. And so you'll see those data revised up. It may actually

         go into the third quarter, too. And so I think it's going -- this whole process is going to a little bit

         make it harder to make a clean assessment of U.S. demand. I mentioned private domestic final

         purchases, which doesn't have inventories of government or – inventories, government. Anyway,

         it's a cleaner read on private demand, yes. But that, too, probably was flattered a little bit by --

         you know, by strong demand for imports to be tariffed. So that might overstate. It's a really good

         reading, three percent PDFP in the first quarter. That might actually overstate. So it's not really

         going to -- I don't think it's going to affect our decisions. I will just say, though, that it's a little



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         confusing and it's probably less confusing to us than it would be to the general public as we try to

         explain this. You know, it's complicated and, you know, GDP is sending a signal, PDFP is

         sending a signal. It's a little bit confusing. But I think we understand what's going and it's not

         really going to change things for us.

                   MICHELLE SMITH. Courtenay.

                   COURTENAY BROWN. Thank you, Courtenay Brown from Axios. I guess, you know,

         we talked about some of the indications of potential layoffs, price hikes, an economic slowdown,

         all being evident in the soft data. I'm curious why the Fed needs to wait for that to translate into

         hard data to, you know, make any type of monetary policy decision, especially if the hard data is

         not as timely or might be warped by tariff-related effects. Are you worried that the soft data

         might be some sort of false warning?

                   CHAIR POWELL. No. I mean, it's -- look, the -- look at the state of the economies. The

         labor market is solid, inflation is low. We can afford to be patient as things unfold. There's no real

         cost to our waiting at this point. Also, the sense of it is we're not sure what the right thing will be.

         You know, there should be some increase in inflation, there should be some increase in

         unemployment. Those call for different responses. And so until we know -- potentially call for

         different responses. And so you know, until we know more, we have the ability to wait and see.

         And it seems to be a pretty clear decision. Everyone on the committee supported waiting. And so

         that's why we're waiting.

                   COURTENAY BROWN. Just a very quick follow-up, there was this sort of vibe session,

         if you will, where the sentiments expressed in soft data did not translate into the hard economic

         data. Are you -- how are you thinking about that when interpreting some of the signs in the softer

         survey data?



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                   CHAIR POWELL. You know, I think going back a number of years, the link between

         sentiment data and consumer spending has been weak. It's not been a strong link at all. On the

         other hand, we haven't had a move of this, you know, speed and size. So it wouldn't be the case

         that we're looking at this and just completely dismissing it. But it's another reason to wait and

         see. You're right that we had a couple of years during the pandemic where people were saying --

         just very downbeat surveys and going out and spending money. So that can happen and that may

         happen to some degree here. We just don't know. This is an outsized change in sentiment, though,

         and so none of us are looking at this and saying that we're sure one way or the other. We're not.

                   MICHELLE SMITH. Matt.

                   MATT EGAN. Thanks, Chair Powell, Matt Egan with CNN. So you mentioned earlier

         that you're monitoring the shipping data. And we have seen in the shipping data that imports

         from China into the Port of Los Angeles have plunged. And that has raised concerns about

         potential shortages. What tools, if any, does the Fed have to ensure that prices and inflation

         expectations don't get out of hand if tariffs do cause significant supply chain disruptions?

                   CHAIR POWELL. I mean, we don't have, you know, the kind of tools that are good at

         dealing with supply chain problems. We don't have that at all. That's a job for the administration

         and for the private sector more than anything. You know, what we can do with our interest rate

         tool is we can support -- be more or less supportive of demand. And that's -- that would be a very

         inefficient way to try to fix supply chain problems. But you know, we don't see the inflation yet.

         We're of course reading the same stories and watching the same data as everybody else. And you

         know, right now we see inflation, you know, kind of moving sideways at a fairly low level.

                   MATT EGAN. If I can follow up on that, President Trump has indicated that he will

         likely name a replacement for you when your term as Chair expires next year. But your position



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         on the Board runs through January 2028, I believe. Would you consider remaining on the Fed

         Board even if you're no longer Chair?

                   CHAIR POWELL. So I don't have anything for you on that. My whole focus is on -- and

         my colleagues' focus is all on, you know, trying to navigate this tricky passage we're in right

         now, trying to make the right decisions. You know, we want to make the best decisions for the

         people that we serve. That's what we think about day and night. And this is a challenging

         situation, and that's 100 percent of our focus right now.

                   MICHELLE SMITH. Let's go to Jennifer for the last question.

                   JENNIFER SCHONBERGER. Thank you so much, Chair Powell, Jennifer Schonberger

         with Yahoo Finance. Public records of your schedule so far this year show no meetings with

         President Trump. Past Presidents Obama, Bush, and Clinton have all met with Fed chairs. And

         you met with Trump during his first term. Why haven't you asked for a meeting yet with the

         President?

                   CHAIR POWELL. I've never asked for a meeting with any President; and I never will.

         It's not -- I wouldn't do that. There's never a reason for me to ask for a meeting. It's always been

         the other way.

                   JENNIFER SCHONBERGER. So would you want to meet with him if given the

         opportunity –

                   CHAIR POWELL. I have never -- --

                   JENNIFER SCHONBERGER. To get more information?

                   CHAIR POWELL. I never -- it's never an initiative that I take. It's always an initiative -- I

         -- you know, I don't think it's up to a Fed chair to seek a meeting with the President, although

         maybe some have done so. I've never done so, and I can't imagine myself doing that. It's -- I



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         think it's always -- comes the other way, a President wants to meet with you. But that hasn't

         happened.

                   JENNIFER SCHONBERGER. And if I could just ask one question on monetary policy;

         when it is time to cut rates, how will you determine how far down rates will have to come to try

         to keep a balance on the inflation mandate as employment weakens?

                   CHAIR POWELL. You know, I think once you have a direction -- a clear direction, you

         can make a -- we can make judgment about how fast to move and that kind of thing. So it's really

         the harder question is the timing, I think, and when will that become clear? And fortunately, as I

         mentioned, we have our policy in a good place, the economy's in a good place, and it's really

         appropriate, we think, for us to be patient and wait for things to unfold as we get more clarity

         about what we should do. Thanks very much.




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            Donald J. Trump
            @realDonaldTrump

 I just had a great call with the Acting President of South Korea. We talked about
 their tremendous and unsustainable Surplus, Tariffs, Shipbuilding, large scale
 purchase of U.S. LNG, their joint venture in an Alaska Pipeline, and payment for the
 big time Military Protection we provide to South Korea. They began these Military
 payments during my first term, Billions of Dollars, but Sleepy Joe Biden, for reasons
 unknown, terminated the deal. That was a shocker to all! In any event, we have the
 confines and probability of a great DEAL for both countries. Their top TEAM is on a
 plane heading to the U.S., and things are looking good. We are likewise dealing
 with many other countries, all of whom want to make a deal with the United States.
 Like with South Korea, we are bringing up other subjects that are not covered by
 Trade and Tariffs, and getting them negotiated also. “ONE STOP SHOPPING” is a
 beautiful and efficient process!!! China also wants to make a deal, badly, but they
 don’t know how to get it started. We are waiting for their call. It will happen! GOD
 BLESS THE USA.
 11.8k ReTruths 57.8k Likes                                             Apr 08, 2025, 6:08 AM




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            Donald J. Trump
            @realDonaldTrump

 Japan is coming in today to negotiate Tariffs, the cost of military support, and
 “TRADE FAIRNESS.” I will attend the meeting, along with Treasury & Commerce
 Secretaries. Hopefully something can be worked out which is good (GREAT!) for
 Japan and the USA!
 5.06k ReTruths 27k Likes                                               Apr 16, 2025, 3:18 AM




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